             Case 4:00-cr-40021-JPG                     Document 297 Filed 04/03/07                     Page 1 of 4          Page ID
                                                                  #139
 %A0 245D       (Rev. 12/03) Judgment in a Criminal Case for Revocations
                Sheet 1




                         SOUTHERN                                     District%4eu            ;               ILLINOIS
                                                                                             d
          UNITED STATES OF AMERlCA                                           JUDGMENT N A CRIMINAL CASE
                               v.                                            (For Revocation of Probation or Supervised Release)
                  CHARLES G. HODGE
                                                                             Case Number: 4:00CR40021-008-JPG
                                                                             USM Number: 05030-025


THE DEFENDANT:
d admitted guilt to violation of condition(s) as alleged in petition
     was found in violation of condition(s)
The defendant is adjudicated guilty of these violations:

Violation Number                    Nature of Violation                                                         Violation Ended
 Statutory                           The defendant tested positive for cocaine                                   12/5/2006
 Special          .                  The defendant was unsucc%ssfully terminated from Cognitive                   12/22/2008

                                               -
                                     Skills Program &failed to reDort for substance a b u s e
                                     counseling & nesldential treatment as directed
       The defendant is sentenced as provided in pages 2 through                         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
     The defendant has not violated condition(s)                                     and is discharged as to such violation(s) condition

          It is ordered that the defendant must noti the United States attorney for this district within 30 days of any
                                                          'r
change of name, residence, or mailing address untl all fines, restitution, costs, and special assessments imposed by this judgment are
fully pajd. If ordered to pay restitution, the defendant must notify the court and United States attorney of mater~alchanges in
economlc circumstances.

Defendant's Sac. Sec. No.:     - 5 7 2 9                                     3/27/2007
Defendant's Date of Birth:     0 1 9 6 0


Defendant's Residence Address:

Marion. IL 62959
                                                                             J. Phil Gilbert                             District Judge
                                                                             Name of Judge                              Title of Judge

                                                                                              8
                                                                                             //   12
Defendant's Mailing Address:

S a m e a s above
             Case 4:00-cr-40021-JPG                     Document 297 Filed 04/03/07               Page 2 of 4            Page ID
             (Rev. 12103 Judgment in a Criminal Case for Revocations
                                                                     #140
  A 0 245D
              Sheet 2-   Imprisonment

                                                                                                 J u d g m e n t Page   2of        4
  DEFENDANT: CHARLES G. HODGE
  CASE NUMBER: 4:00CR40021-008-JPG


                                                         IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
  total term o f :
24 months




       @fThe court makes the following recommendations to the Bureau of Prisons:
** That the defendant be placed in the Intensive Drug Treatment Program.



       i$ The defendant is remanded to the custody of the United States Marshal.

          The defendant shall surrender to the United States Marshal for this district:
               at                                 a.m.         p.m.     on
               as notified by the United States Marshal.

          The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
               before 2 p.m. on
               as notified by the United States Marshal.
               as notified by the Probation or Pretrial Services Off~ce.

                                                              RETURN

                             ..
  I have executed this judgmefit as follows:
                                  w




          Defendant delivered on                                                   to

  at                                             with a certified copy of this judgment.



                                                                                              LINITED STATES MARSHAL



                                                                      BY
                                                                                           DEPUTY UNITED STATES MARSHAL
              Case 4:00-cr-40021-JPG                      Document 297 Filed 04/03/07                Page 3 of 4         Page ID
                                                                    #141
A 0 245D     (Rev. 12103) Judgment in a Criminal Case for Revocations
             Sheet 3 -Supervised Release


DEFENDANT: CHARLES G. HODGE
                                                                                                        Judgment-Page   3of                  4
CASE NUMBER: 4:00CR40021-008-JPG
                                                            SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term o f :
24 months



         The defendant must report to the probation ofice in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Pnsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawful1 possess a conholled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall su%mitto one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determmed by the court.
       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
@ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
@ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
       The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
       or is a student, as directed by the probation officer. (Check, if applicable.)
       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this 'udgment imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance with
the Schedule o/payments sheet of th~sjudgment.
          The defendant must comply with the standard conditionsthat have been adopted by this court as well as with any additional conditions
on the attached page.

                                        STANDARD CONDITIONS OF SUPERVISION

  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
        each month;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6 ) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7 the defendant >hall refrain from excessi\.e use oialsohol and h a l l not purchase, possess. usc, di5tribute, or adnllnis~er;in!
      controllcd substance or an) paraphernalia related lo any controllcd subsranceb, except as prescribed hy LI physician.
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate,with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probat~onofficer;
 10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
 11)    the defendant shall notify the probation officer within seventy-hvo hours ofbeing arrested or questioned by a law enforcement officer;
 12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
 13)    as directed by the robation officer, the defendant shall notify,thirdparties of risks that may be occasion@ by the defendant's criminal
        record or           history or characte,ristlcs and shall permit the probation officer to make such notlficat~onsand to confrm the
        defendant s compliance with such not~ficat~on    requirement.
           Case 4:00-cr-40021-JPG                       Document 297 Filed 04/03/07       Page 4 of 4       Page ID
A 0 245D   (Rev. 12/03) Judgment in a Criminal Case for Revocations
                                                                    #142
           Sheet 3C - Supervised Release


DEFENDANT: CHARLES G. HODGE                                                                 Judgment-Page   4 of            4
CASE NUMBER: 4:00CR40021-008-JPG

                                       SPECIAL CONDITIONS OF SUPERVISION
The defendant shall be placed in a half-way house for Intensive Drug Rehab. following his release from BOP

The defendant shall participate as directed and approved by the probation officer for treatment of narcotic addiction, drug
dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
residence andlor participation in a residential treatment facility. Any participation will require complete abstinence from all
alcoholic beverages. The defendant shall pay for the costs associated with substance abuse counseling andlor testing
based on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total
costs of counseling.

The defendant shall participate in a program of mental health treatment, as directed by the probation officer, until such
time as the defendant is released from the program by the probation officer.
